                             UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF TENNESSEE
                                  NASHVILLE DIVISION

UNITED STATES OF AMERICA                           )
                                                   )
v.                                                 )      NO. 3:13-00091
                                                   )      JUDGE CAMPBELL
JOHN FISHER                                        )

                                           ORDER

         The change of plea hearing currently scheduled for October 20, 2014, is CONTINUED to

October 21, 2014, at 3:00 p.m. Any proposed plea agreement shall be submitted to the Court by

October 17, 2014.

         It is so ORDERED.

                                                   ____________________________________
                                                   TODD J. CAMPBELL
                                                   UNITED STATES DISTRICT JUDGE




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